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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 RASEAN MALONE,
                                                   Case No. 2:19-cv-02800-JDW
                 Petitioner,

       v.

 SUPERINTENDENT BARRY SMITH,
 et al.,

                 Respondents.


                                             ORDER

      AND NOW, this 3rd day of March, 2023, for the reasons given in the accompanying

Memorandum, it is ORDERED as follows:

      1.        Mr. Malone’s First Motion To Amend/Correct Petition For Writ Of Habeas

Corpus (ECF No. 47) is DENIED;

      2.        Mr. Malone’s Second Motion To Amend/Correct Petition For Writ Of Habeas

Corpus (ECF No. 53) is DENIED;

      3.        A Certificate of Appealability shall issue as to the Court’s resolution of the

two motions to amend the petition, but not as to the Court’s resolution of the amended

petition; and

      4.        The Clerk of Court shall mark this case closed.
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                                 BY THE COURT:


                                 /s/ Joshua D. Wolson
                                 JOSHUA D. WOLSON, J.




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